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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:
          JACQUELINE WHITE                                    CHAPTER: 13
                   DEBTOR
                                                              BANKRUPTCY CASE: 18-15137-AMC
 CARISBROOK ASSET HOLDING TRUST
            MOVANT                                            JUDGE: ASHELY M.CHAN
 V.

 JACQUELINE WHITE
            DEBTOR

                               CONSENT ORDER/STIPULATION
                     SETTLING MOTION FOR RELIEF FROM AUTOMATIC STAY

    Upon the Motion of Carisbrook Asset Holding Trust, (hereafter “Movant”) through its Counsel, Stern &
Eisenberg PC, under 11 U.S.C. § 362(d) (and § 1301) for relief from the automatic stay as to Debtor's real property
located at 6107 Cobbs Creek Parkway, Philadelphia, PA 19143 (hereinafter, the “Property”), and the parties
agreeing to the entry of the Order settling the Motion for Relief and for cause shown, it is hereby ORDERED AND
DECREED as follows:

    1. As of December 13, 2018, Jacqueline White (hereinafter, “Debtor”) acknowledges that Debtor is due for
    the following post-petition regular monthly payments from September 1, 2018 as follows:

    PAYMENTS:                                                                               $ 2,900.64
    09/01/2018       12/01/2018      $725.16          @ 4 MONTHS
    COUNSEL FEES/COSTS FOR MOTION                                                           $ 1031.00
    POST-PETITION SUSPENSE:                                                                 ($611.57)
    POST-PETITION ARREARS ("ARREARS")                                                       $3,320.07

     2. Debtor shall cure the Arrears as set forth above by paying them through Debtor’s Chapter 13 Bankruptcy
    Plan. Debtor shall file an Amended Plan within 30 days of this stipulation incorporating the post-petition
    delinquency in the amount of $3,320.07 to the pre-petition arrears of $33,591.77 making a total of $36,911.84
    to be paid through the Amended Plan.

     3. Debtor agrees that no Chapter 13 Bankruptcy Plan shall be confirmed unless it includes the pre-petition
    arrears of $33,591.77 and the post-petition arrears of $3,320.07 outlined in paragraph 1 for a total of
    $36,911.84.




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    4. Movant shall not file an Amended Proof of Claim #3 or a new Proof of Claim for the $3,320.07 in post-
   petition arrears.

   5. Debtor agrees to continue regular monthly mortgage payments (currently $725.16/month) beginning in
   January 1, 2019.

   6. In the event the regular monthly payment changes for any reason, then the amount due pursuant to this
   Paragraph 2 shall be adjusted accordingly. Thereafter, Debtor agrees to continue making the regular monthly
   mortgage payment.

   7. Payment(s) due in accordance with this Consent Order/Stipulation shall be due on or before the 1st of each
   month.

    8. Debtor shall make the regular monthly payments required to the Trustee.

    9. All payments due to Movant from Debtor are to be made directly to Movant at c/o RoundPoint Mortgage
    Servicing Corporation, P.O. Box 19409, Charlotte, NC, 28219 making sure that Movant's loan number appears
    on all payments.

    10. In the event Debtor fails to make any of the payments set forth hereinabove (or payments for real estate
    taxes and/or hazard insurance when due) on or before their due dates, Movant and/or Counsel may give Debtor
    and Debtor's counsel notice of the default.

    11. If any such default is not cured within ten (10) days of said notice of the default, upon certification to the
    court of such default, and request for Order, with a copy to Debtor and Debtor's counsel, Movant shall
    immediately have relief from the bankruptcy stay, per the form of the attached Order which is made part hereof
    as Exhibit "A".

    12. Debtor shall pay Attorney Fees for each Notice of Default issued by Movant as a result of Debtor's failure
    to make payments in accordance with this Order.

    13. The failure by Movant, at any time, to file a Certification of Default upon default by Debtor shall not be
    construed, nor shall such failure act, as a waiver of any of Movant's rights hereunder.

    14. Upon issuance of the aforesaid Order, the parties hereto further agree that Movant (and any
    assignee/successor-in-interest) may proceed in state court to exercise all rights and remedies available to it as
    a mortgagee and Movant under state and federal law including, but not limited to, the initiation of and
    continuation of foreclosure and execution process through sheriff's sale concerning the Property and ejectment
    thereafter.

    15. In the event Debtor converts to a bankruptcy under Chapter 7 of the Bankruptcy Code, Debtor shall pay
    all pre-petition arrears and post-petition arrears within ten (10) days from the date that the case is converted.
    If Debtor fails to make payment in accordance with this paragraph then Movant, through Counsel, may file a
    certification setting forth said failure and Movant shall be granted immediate relief from the automatic stay in
    the form of Order attached as Exhibit “A”.

    16. It is further agreed that the 14-day stay provided by Rule 4001(a)(3) is hereby waived.

    17. Facsimile signatures shall be as valid as original signatures and this Consent Order/Stipulation may be
    signed in counterparts.



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